Case 1:20-cv-00452-NYW-SKC Document 199 Filed 06/06/22 USDC Colorado Page 1 of 8




                     UNITED STATES DISTRICT COURT
                                                  for the
                                       District of Colorado

                                                        Case No.   20-cv-00452-WJM-SKC
                  Tiffany Grays, pro se
                        Plaintiff(s)

                           -V-

       Equifax Inc. d/b/a/ Equifax Information
   Services LLC., Experian Information Solutions,
   Inc., Trans Union LLC., Innovis Data Solutions,
       Inc., Navient Corporation d/b/a Navient
                     Solutions, Inc.
                     Defendant(s)



   PLAINTIFF’S RESPONSE IN OPPOSITION OF DEFENDANT’S MOTION
                    FOR SUMMARY JUDGMENT

      Ms. Tiffany Grays, pro se Plaintiff, hereby opposes all relief requested in Defendant’s

   Motion for Status Conference (“Motion”) as the relief sought is improper intentional

   misrepresentations to this Court.


                      I.    INTRODUCTION & BACKGROUND
          Plaintiff’s injuries began in 2014 when Navient Solutions Inc., (“Defendant”) began

   improperly reporting mathematically impossible late payments since 2014 on each of the

   Plaintiff’s twenty-one accounts (ECF No. 47 at p.6), severely negatively impacting her credit

   score and creditworthiness. Defendant then willfully fails the Plaintiff by failing to abide by

   multiple duties outlined in the Fair Credit Reporting Act (“FCRA”); even when given multiple

   opportunities to correct. Defendant continues to harm Plaintiff through an effort to engorge on

   ill-gotten gains, by knowingly and recklessly failing to discharge debt it stated Plaintiff owed

                                                    1
Case 1:20-cv-00452-NYW-SKC Document 199 Filed 06/06/22 USDC Colorado Page 2 of 8




   through monies which accrued from an account which was not Plaintiff’s. Defendant continues

   to engorge on ill-gotten gains, by knowingly and recklessly failing to afford Plaintiff – like all

   other similarly situated borrowers whose loans are serviced by Defendant – the promised six-

   month grace-period upon exiting school, as Defendant can require payments upon loans sooner

   than required, leading to late fees which would not have otherwise been imposed.

           Therefore, Plaintiff contends Defendant’s actions are unconscionable, unfair, misleading,

   deceptive, a breach of duty to good faith and fair dealing; constitute unjust enrichment and

   conversion through fraudulent and/or negligent misrepresentations; all violations of Colorado

   and Federal Statues; causing multiple injuries to the Plaintiff; including inter alia, consumer

   credit score damage, mental and emotional distress, physical injuries, and financial losses.

   Defendant continues to harm the pro se Plaintiff by intently squandering her resources through

   vexatiously multiplying proceedings as outlined herein, therefore it appears to Plaintiff that

   Defendant – who’s revenue in 2020 was billions of dollars – is attempting to overwhelm Plaintiff

   and prolong these proceedings as long as possible, hoping the pro se Plaintiff will forgo her

   plight to justice. Thus, in favor of judicial economy, Plaintiff prays the Court will compel

   Defendant’s and its Counsel’s compliance with Rules and Orders of this Court through denying

   all relief requested and issue summary in favor of Plaintiff on all FCRA claims. In support

   thereof Plaintiff states as follows:

                                 Response to Movant’s Material Facts

       The Motion is void of a section entitled “Movant’s Statement of Material Facts,” WJM

   Revised Practice Standards III(F)(3), thus deprives Plaintiff of her ability to appropriately

   respond in accordance with III(F)(4) as this section “must” Id., be included by the movant

   Defendant.

                                                     2
Case 1:20-cv-00452-NYW-SKC Document 199 Filed 06/06/22 USDC Colorado Page 3 of 8




   http://www.cod.uscourts.gov/Portals/0/Documents/Judges/WJM/WJM_Practice_Standards.pdf?v

   er=2021-12-01-083546-143

                               Statement of Additional Disputed Facts

   Defendant multiple times consented to this Court’s jurisdiction, thus barring defenses of statute

   of limitations contesting the jurisdiction of the Court, Defendant’s plight to reinvigorate defenses

   in Summary Judgment is futile as this defense has been relinquished. See (ECF No. 61 at p.2

   #C). See also (ECF No. 51 at p. 2 #2).

      FACTUAL BASIS SUPPORTING NSL’S FCRA VIOLATIONS AND PLAINTIFF’S
                                DAMAGES
      1. While “Department of Education guidance,” (ECF No. 183 at p. 10 #A), advises student

          loan servicers to not report delinquent payments of borrowers on consumer credit reports

          until the consumer is 90+ days late, this guidance does not require the reporting of

          inaccurate payment history to CRAs nor to report delinquent payments as ok. (ECF No.

          183 at p.11 #1).

      2. A reporting of ok for the Plaintiff’s payment history with NSL is stating the payments

          were received on time, are not due, and/or is current.

      3. Department of Education guidance stating to “not report accounts delinquent,” (ECF

          No. 183 at p.11 #1), is a request to forgo reporting anything, not reporting known false

          information that the payment is “ok,” (Id. at p.11 #1), when the furnisher knows the

          payment is delinquent; conduct with which NSL is very familiar.

      4. The reporting of an account that has delinquent payments as ok is a violation of the duties

          imposed on the furnisher under the FCRA to report accurate information on Plaintiff’s

          consumer credit report.


                                                    3
Case 1:20-cv-00452-NYW-SKC Document 199 Filed 06/06/22 USDC Colorado Page 4 of 8




      5. Navient is f/k/a Sallie Mae, Inc. (ECF No. 61 at p. 3 #4)

      6. “NSL is a “furnisher”[of information about the Plaintiff’s loans to former Defendant

         CRAs] under the Fair Credit Reporting Act [“FCRA]. (ECF No. 51 at p. 4 #e).

      7. “As a furnisher, Navient held duties under 15 U.S.C. § 1681s-2.” (ECF No. 59 at ¶41).

      8. “As a Furnisher, Navient failed to “establish and implement reasonable written policies

         and procedures regarding the accuracy and integrity of the information relating to

         consumers [, the Plaintiff], that it furnishes to a consumer reporting agency;” 12 C.F.R. §

         1022.42(a).” (ECF No. 59 at ¶44).

      9. “As a student loan servicer, Navient routinely furnishes information about the Plaintiff’s

         federal student loan performance, as a borrower, on loans to one or more consumer

         reporting agencies for inclusion in a consumer report and is therefore a “furnisher” under

         Regulation V. 12 C.F.R. § 1022.41(c).” (ECF No. 59 at ¶40).

      10. “Plaintiff is a consumer as defined in the FCRA[15 U.S.C. § 1681a(c)-(d)].” See (Id. 51

         at p.6 #8); See also (Id. 51 at p.6 #12); See also (Id. 51 at p.7 #14);

      11. “Dismissed Defendants are Consumer Reporting Agencies as defined in the FCRA.” See

         (Id. 51 at p.6 #7); See also (Id. 51 at p.6 #9); See also (Id. 51 at p.6 #11); See also (Id.

         51 at p.7 #13).

      12. “NSL has and does service loans obtained by Plaintiff,” See (ECF No. 61 at p.3 #3); See

         also (ECF No. 51 at p.5 #1), “, since 2001.” See (Id. 61 at p.3 #12); See also (Id. 51 at

         p.6 #2).

      13. “NSL reported student loans obtained by Plaintiff [and serviced by NSL] as delinquent in

         2014.” See (Id. 61 at p.3 #14); See also (Id. 51 at p.6 #23); See also (ECF No. 47 at

         p.6).



                                                   4
Case 1:20-cv-00452-NYW-SKC Document 199 Filed 06/06/22 USDC Colorado Page 5 of 8




      14. The aforementioned delinquency was reported to “Experian that Plaintiff was “90,”

         :150,” “90,” and “120,” days late (collectively “Late Payments”) in the months of April,

         May, October, and November 2014, respectively,” See (Id. 51 at p.6 #4); See also (Id.

         51 at p.6 #10), by “NSL.” (Id.); See also (Id. 51 at p.6 #4).

      15. Plaintiff disputed the Late Payments with each CRA. See (Id. 51 at p.6 #5); See also (Id.

         51 at p.7 #15); See Also (ECF No. 183 at ¶¶43-51).

      16. Said disputes triggered NSL’s compliance for furnishers. (ECF No. 59 at ¶42).

      17. Given the fact that NSL received over 80 disputes to remove the Late Payments and

         determined on each and every dispute was “frivolous,” (ECF No. 104 at pp. 3-6, 9, )

         substantiates the willful negligence of NSL under 15 U.S.C. §§ 1681n-o as this failure

         after the “voluminous” (ECF No. 183 at ¶45) disputes, substantiates NSL did not

         conduct a reasonable investigation and “failed to modify, delete, or permanently block

         the reporting of the disputed the Late Payments and the erroneous account” (ECF No. 59

         at ¶46) in “violations of 15 U.S.C. § 1681s-2(b) and 1681i.” (ECF No. 59 at ¶45).

      18. Defendant factually removed the November 2014 Late Payment on some Plaintiff’s

         accounts, (ECF No. 104 at pp. 13-14), even though the letter said the payment would be

         removed from all accounts. Id.

      19. The unlawful reporting of the erroneous Late Payments constitutes a violations of the

         Fair Credit Reporting Act; (Expert Reports emailed to the Court and Defendant

         pursuant to the Settlement Conference);

      20. As a result of Defendant’s willfull negligence Plaintiff has and continues to suffer from

         inter alia “depression.” (ECF No. 165 at p.3) see also (ECF No. 140-1), loss of

         creditworthiness, (Expert Reports emailed to the Court and Defendant pursuant to



                                                   5
Case 1:20-cv-00452-NYW-SKC Document 199 Filed 06/06/22 USDC Colorado Page 6 of 8




          the Settlement Conference), and enjoyment of life. (Expert Reports emailed to the

          Court and Defendant pursuant to the Settlement Conference);

      21. Defendant has failed to produce any records which show the removal of the Late

          Payments after this instant case was at issue. (Declaration of Plaintiff).

      22. Plaintiff’s complaint to the student loan ombudsperson and the subsequent investigation

          found the “150 day” (ECF No. 103-4 p. 3) late payment to be in err and requested NSL

          remove the payment, which NSL did; further establishing NSL’s FCRA violations.

      23. The removal of the Late Payments caused an increase in Plaintiff’s credit worthiness and

          allowed Plaintiff to secure credit from over 5 lenders, there is no other explanation for the

          significant increase. (Declaration of Plaintiff).

      24. Plaintiff loans at all time relevant were in forbearance or deferment and thus Plaintiff was

          not required to make any payments to NSL. (Declaration of Plaintiff).

      25. As a student loan servicer, NSL is a contractor of the U.S. Government, thus is required

          to abide by the terms and conditions of the government’s contracts. Therefore, NSL

          would be considered responsible for the breach of the terms of the contract by failing to

          afford Plaintiff a six month grace period as required by the MPN. (Declaration of

          Plaintiff).

      26. The conduct of Defendant constitutes violations of multiple Colorado Consumer statues.

          (Declaration of Plaintiff).

   WHEREFORE, Plaintiff has satisfied the burden by indicating genuine issues of material facts,

   denying all relief requested by NSL.




                                          Respectfully Submitted,

                                                    6
Case 1:20-cv-00452-NYW-SKC Document 199 Filed 06/06/22 USDC Colorado Page 7 of 8




                                                          /s/ Tiffany Grays, pro se
                                                                    Tiffany Grays
                                                                 PO Box 472322
                                                              Aurora, CO 80047
                                                                  (720) 623-1883
                                                          Legalgrays@gmail.com




                                       7
Case 1:20-cv-00452-NYW-SKC Document 199 Filed 06/06/22 USDC Colorado Page 8 of 8




                     UNITED STATES DISTRICT COURT
                                               for the
                                     District of Colorado

   Tiffany Grays, pro se                                       20-cv-00452-WJM-SKC
           v
   Navient Solutions, et al

                          CERTIFICATE OF SERVICE
   I hereby certify that on the 6th day of June 2022, I have filed the foregoing with the Clerk of
   Court using the CM/ECF system, which will also e-mail a true and correct copy of this document
   to the following:
   DOCUMENT: PLAINTIFF’S OPPOSITION OF DEFENDANT’S MOTION FOR
   SUMMARY JUDGMENT
   DOCUMENT: DECLARATION OF PLAINTIFF
    Dennis N. Lueck                                   Kevin J. Burns
    dlueck@spencerfane.com                            Kevin.Burns@coag.gov
    Counsel for Navient Defendant                     Nikolai N. Frant, Esq.
                                                      Nikolai.Frant@coag.gov
                                                      Consumer Protection Section
                                                      Consumer Credit Enforcement Unit
                                                      Colorado Department of Law
                                                      Ralph L. Carr Colorado Judicial Center
                                                      Counsel for Martha Fulford, Administrator
                                                      of the Colorado Student Loan Equity Act




                                                                           /s/ Tiffany Grays, pro se
                                                                                     Tiffany Grays
                                                                                  PO Box 472322
                                                                               Aurora, CO 80047
                                                                                   (720) 623-1883
                                                                           Legalgrays@gmail.com




                                                  8
